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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA                     FO
                                                                12 AUG f 4 A~1I0: to
UNITED STATES OF AMERICA,                   CASE NO.   09cr13}~-yAH


                        Plaintiff,
                 vs.

BRIAN SANFORD HAMPTON,

                        Defendant.


          IT APPEARING that the defendant is now entitled to be                 scharged
for the reason that:

     an indictment has been fi    in another case against the defendant and
     the Court     granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary de              ; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice;
     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense as charged in the Indictment:

     Count 4s:     21 USC 841 (a) (1) and 18 USC 2.



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: August 6, 2012
                                                  A. Houston
                                                  District Judge
